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                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI


IN RE: JENNIFER BISHOP                                          CHAPTER 7

DEBTOR                                                          CASE NO. 18-11657 JDW

                                 MOTION TO AVOID LIEN

       COMES NOW, Debtor(s), by and through his/her/their attorney of record, and moves

the Court, pursuant to §522(f) of the United States Bankruptcy Code, to avoid the lien of the

Creditor, First Metropolitan Financial, UCC File No. 20172480386A, on the grounds that the

security in household goods for said debt is a non-possessory, non-purchase money security

agreement. That said security is exempt property.

       WHEREFORE, PREMISES CONSIDERED, Debtor(s) move(s) this Honorable Court to

order the avoidance of the above lien/judgment.

                                            RESPECTFULLY SUBMITTED,

                                            /s/Karen B. Schneller
                                            KAREN B. SCHNELLER, MSB # 6558
                                            ROBERT H. LOMENICK, JR., MSB #104186
                                            SCHNELLER & LOMENICK, P.A.
                                            126 NORTH SPRING STREET
                                            POST OFFICE BOX 417
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                               CERTIFICATE OF SERVICE


       I, Karen B. Schneller/Robert H. Lomenick, Attorney for Debtor, do hereby certify that I
have this day mailed, via electronic delivery or postage prepaid, a true and correct copy of the
above and foregoing Motion To Avoid Lien to:

First Metropolitan Financial
371 W. Bankhead Street
New Albany, MS 38652

Honorable Selene Maddox
Chapter 7 Trustee
362 North Broadway Street
Tupelo, MS 38804

U. S. Trustee
501 East Court Street, Suite 6-430
Jackson, Mississippi 39201

       This the 31st day of May, 2018



                                                   /s/Karen B. Schneller _______
                                                   KAREN B. SCHNELLER
                                                   ROBERT H. LOMENICK, JR.
